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     HEATHER E. WILLIAMS, Bar #122664
1    Federal Defender
     DAVID PORTER, Bar #127024
2    Assistant Federal Defender
     Counsel Designated for Service
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
     Attorneys for Defendant
6    ERWIN SPRUTH
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 95-503 JAM

12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)

14   ERWIN SPRUTH,                                       RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable JOHN A. MENDEZ
16
17             Defendant, ERWIN SPRUTH, by and through his attorney, Assistant Federal Defender
18   David Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19   Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         On October 23, 2014, Mr. Spruth filed a pro se motion with this Court to reduce

21   his sentence;

22             2.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

23   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

24   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

25   pursuant to 28 U.S.C. § 994(o);

26             3.         On August 11, 1998, this Court sentenced Mr. Spruth to the statutory maximum

27   terms for each count for a total term of 288 months imprisonment, comprised of 120 months for

28

     Stipulation and Order Re: Sentence Reduction         1
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1    each of two violations of 21 USC 841(d)(2) (Counts 4 & 7), and 48 months for a violation of 21
2    USC 843(b) (Count 1), all to be served consecutively;
3              4.         His total offense level was 35, his criminal history category was VI and the
4    resulting guideline range was 292-365 months;
5              5.         The sentencing range applicable to Mr. Spruth was subsequently lowered by the
6    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
7    see 79 Fed. Reg. 44,973;
8              6.         Mr. Spruth’s total offense level has been reduced from 35 to 33, and his amended
9    guideline range is 235-293 months; and,
10             7.         Accordingly, the parties request that the Court enter the order lodged herewith
11   reducing Mr. Spruth’s term of imprisonment to a total term of 235 months, comprised of a 94-
12   month sentence on Count 4, a 93-month sentence on Count 7, and a 48-month sentence on
13   Count 1, all to be served consecutively;
14   Respectfully submitted,
15   Dated: January 16, 2014                            Dated: January 16, 2015
16   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
17
18    /s/ Jason Hitt                                    /s/ David M. Porter
     JASON HITT                                         DAVID M. PORTER
19   Assistant U.S. Attorney                            Assistant Federal Defender

20   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           ERWIN SPRUTH
21
22                                                     ORDER
23             This matter came before the Court on the stipulated motion of the defendant for reduction
24   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
25             The parties agree, and the Court finds, that Mr. Spruth is entitled to the benefit
26   Amendment 782, which reduces the total offense level from 35 to 33, resulting in an amended
27   guideline range of 235-293 months.
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     Stipulation and Order Re: Sentence Reduction          2
       Case 2:95-cr-00503-JAM Document 349 Filed 01/22/15 Page 3 of 3



1              IT IS HEREBY ORDERED that the total term of imprisonment imposed in August 1998
2    is reduced to a term of 235 months, comprised of a 94-month sentence on Count 4, a 93-month
3    sentence on Count 7, and a 48-month sentence on Count 1, all to be served consecutively.
4              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
5    remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
6    reduction in sentence, and shall serve certified copies of the amended judgment on the United
7    States Bureau of Prisons and the United States Probation Office.
8              Unless otherwise ordered, Mr. Spruth shall report to the United States Probation Office
9    within seventy-two hours after his release.
10   Dated: January 21, 2015
11                                                  /s/ John A. Mendez______________________
                                                    U. S. DISTRICT COURT JUDGE
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     Stipulation and Order Re: Sentence Reduction            3
